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 2   Margaret C. Redshaw (SB No. 6327480)
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      Counsel for Defendant Chart Inc.
14
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16
                                UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18
                                     SAN FRANCISCO DIVISION
19
20
21   IN RE PACIFIC FERTILITY CENTER              Case No. 3:18-cv-01586-JSC
     LITIGATION
22                                               DECLARATION OF KEVIN M.
23                                               RINGEL IN SUPPORT OF
     This Document Relates to:                   DEFENDANT’S AMENDED
24   Case No. 3:18-cv-01586                      ADMINISTRATIVE MOTION TO FILE
     (A.B., C.D., E.F., G.H., and I.J.)          UNDER SEAL NO. 2
25
26
27
28

          DECLARATION OF RINGEL ISO AMENDED MOTION TO FILE UNDER SEAL NO. 2
                              CASE NO. 3:18-CV-01586-JSC
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 1           I, Kevin M. Ringel, declare as follows:
 2          1.      I am a partner at the law firm of Swanson, Martin & Bell, LLP, which is counsel
 3
     of record for Defendant Chart Inc. I am an attorney admitted to practice in the State of Illinois
 4
     and am admitted pro hac vice before this Court. I submit this declaration in accordance with
 5
 6   Civil Local Rule 79-5(d)(1)(A) in support of Chart’s Administrative Motion No. 2 to File Under

 7   Seal Chart’s Motion to Exclude Anand Kasbekar and David Wininger the following documents
 8
     or portions thereof:
 9
                   Certain exhibits to the Declaration of Kevin M. Ringel in Support of Chart’s Motion
10
                    to Exclude Plaintiffs’ Experts Anand Kasbekar and David Wininger, including:
11
12                     Exhibit A – Expert Report of Anand Kasbekar dated November 6, 2020;

13                     Exhibit B – Expert Rebuttal Report of Anand Kasbekar dated December 4,
14
                        2020;
15
                       Exhibit C - Deposition Transcript of Anand Kasbekar dated December 13,
16
17                      2019;

18                     Exhibit D - Deposition Transcript of Anand Kasbekar dated November 25,
19                      2020;
20
                       Exhibit E - Deposition Transcript of Anand Kasbekar dated December 15,
21
                        2020;
22
23                     Exhibit F – Amended Expert Report of David Wininger dated December 4,

24                      2020;
25                     Exhibit G – Deposition Transcript of David Wininger dated November 30,
26
                        2020;
27
                       Exhibit H – Expert Report of Franklin Miller dated November 20, 2020;
28

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                        Exhibit I – Expert Rebuttal Report of Franklin Miller dated December 11, 2020;
 1
 2                      Exhibit J - Deposition Transcript of Franklin Miller dated December 14, 2020;

 3                       and
 4
                        Exhibit K – Expert Rebuttal Report of Ron Parrington dated December 8, 2020.
 5
            2.      On November 5, 2020, the Court entered the Parties’ Second Amended Stipulated
 6
 7   Protective Order, under which a party or non-party may designate information or items that it

 8   produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY
 9   CONFIDENTIAL - ATTORNEYS’ EYES ONLY.” (EFC No. 598, ¶ 5.2.)
10
            3.      Paragraph 12.3 of the Stipulated Protective Order prohibits a party from filing in
11
     the public record any Protected Material without written permission from the Designating Party or
12
13   a court order secured after appropriate notice to all interested persons. (Id. ¶ 12.3)

14          4.      Portions of the following exhibits to the Declaration of Kevin M. Ringel in Support
15   of Chart’s Motion to Exclude Anand Kasbekar and David Wininger quote, reference, or otherwise
16
     rely on material designated by Chart and Plaintiffs as “HIGHLY CONFIDENTIAL –
17
     ATTORNEYS’ EYES ONLY” pursuant to the Second Amended Stipulated Protective Order:
18
19                Exhibit                    Paragraph(s)                 Designating Party
                    A          Figures 1-74;                                    Chart
20                             p. 4, ¶1, sentence 4;
21                             p. 5 ¶¶ 1, 3;
                               p. 6 ¶2;
22                             pp. 10 - 37;
                               p. 38 ¶ ¶ 2-3
23                             pp. 39– 58;
24                             p. 60 No. 3-4;
                               pp. 61-62; and
25                             p. 63 No. 10.
26                   B         pp. 1-18;                                         Chart
27                             Figures 1-7.

28                   C         23:3-24:8;                                        Chart

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                  39:2-40:6;
 1
                  53:24-54:15;
 2                60:16-62:14;
                  67:24-69:16;
 3                77:17-78:7;
                  88:3-111:23;
 4
                  112:6-113:1;
 5                114:4-129:13;
                  130:4-150:5;
 6                164:5-169:14.
 7
            D     18:12-25;                             Chart
 8                pp. 19-20;
 9                21:1-11;
                  26:18-25;
10                pp. 27-31;
11                32:1-10;
                  37:8-12;
12
                  51:22-25;
13                pp. 52-64;
                  65:1-17;
14
                  80:23-25;
15                p. 84;
16                90:3-25;
                  p. 91;
17                92:1-10;
18                93:11-25;
                  pp. 94-95;
19                96:1-4;
20                97:15-25;
                  pp. 98-111;
21
                  112:24-25
22                pp. 113-123;
23                124:1-20;
                  129:2-25;
24                130:1-12;
25                130:14-25;
                  p. 131;
26                132:1-21.
27          E     11:22-12:21;                          Chart
                  13:20-25:24;
28                28:6-30:24;

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                             33:21-42:13;
 1
                             44:24-45:14;
 2                           52:10-55:19.

 3                   F       ¶35;                                            Plaintiffs
 4                           ¶38-40;
                             ¶44;
 5                           ¶47;
                             ¶49-57;
 6
                             ¶59-60;
 7                           ¶64-67;
                             ¶70;
 8                           Subheadings IV(B)(i)-(iv).
 9                   G       37:1-4, 22-24; and                                Chart
                             77:2-25;
10                           78;
11                           79:1-2.

12                   H       p. 4, ¶III.E(3);                                  Chart
                             pp. 6-7, ¶IV.B;
13                           p. 8, Section V;
14                           pp. 12-22: ¶VI.B (incl. Figures 4-13);
                             p. 23, Section VIII.
15                   I       pp. 2-11 (incl. Figures 1-11).                    Chart
16
17
                     J       11:6-15:1;                                        Chart
18                           17:10-24:9;
19                           25:21-27:1;
                             31:2-33:6;
20                           37:18-44:22;
                             53:11-25
21
                             54:1-57:25;
22                           79:13-85:11.

23                   K       pp. 1-9;                                          Chart
                             Appendix 3-20, including Table 1-5
24
                             and Figure 1-14.
25
26          I declare under penalty of perjury under the laws of the United States that the foregoing
27   in true and correct. Executed this 8th day of January, 2021, in Chicago, Illinois.
28

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             Case 3:18-cv-01586-JSC Document 647-1 Filed 01/08/21 Page 6 of 6




                                                  /s/___Kevin M. Ringel________________
 1
                                                      Kevin M. Ringel
 2
 3                                   CERTIFICATE OF SERVICE
 4          I hereby certify that on January 8, 2021, I electronically filed the foregoing document
 5   using the CM/ECF system, which will send notification of such filing to all counsel of record
 6   registered in the CM/ECF system.
 7
      Dated: January 8, 2021.                    Respectfully submitted,
 8
 9                                                By: /s/ _Margaret C. Redshaw_______

10                                               John J. Duffy (SB No. 6224834)
                                                 Kevin M. Ringel (SB No. 6308106)
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23                                               Counsel for Defendant Chart, Inc.

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